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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



    ROBERT WHARTON,

                          Petitioner,                     Civil Action

                   v.                                     No. 01-cv-6049

    DONALD T. VAUGHN,

                          Respondent.


                                               ORDER

          AND NOW, this 13th day of May, 2022, for the reasons set out in my May 11, 2022

Memorandum Opinion, noting a possible breach of the duty of candor to the Court on the part of

the Philadelphia District Attorney’s Office, it is hereby ORDERED that the Supervisor of the

District Attorney’s Office’s Federal Litigation Unit, who signed the February 6, 2019 concession

and thereafter submitted, along with Petitioner’s counsel, the proposed order suggesting that I grant

the petition for habeas corpus vacating the jury’s verdict, shall appear for a hearing on June 2,

2022, at 9:30 a.m. in Courtroom 17-A to address the concerns raised in my Opinion. 1



                                                BY THE COURT:



                                                /s/ Mitchell S. Goldberg
                                                MITCHELL S. GOLDBERG, J.




1
    Counsel for all parties including the Attorney Generals’ Office shall be present at the hearing.
